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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

)

DATACELL EHF., )
) Civil Action No. 1:14CV1658 (GBL/TCB)

Plaintiff, )

)

v. )

)

VISA INC., VISA EUROPE LTD., and }

MASTERCARD INCORPORATED, )

)

Defendants. )

 

DECLARATION OF JAMES P. MASTERSON

JAMES P. MASTERSON, pursuant to 28 U.S.C. | 1746, hereby deposes and says:

1. I am Senior Vice President and Global Litigation Counsel for MasterCard
International Incorporated (“MasterCard International”) and, in such capacity, I am familiar with
the corporate structure of MasterCard International and its related companies, including
MasterCard, Inc. I submit this declaration in support of the motion of MasterCard, Inc., pursuant
to Federal Rules of Civil Procedure 12(b)(2), 12(b)(3) and 12(b)(6) to dismiss the Complaint
filed by DataCell ehf. I have read the Complaint filed by the plaintiff in this action.

2. MasterCard, Inc. is a publicly-held corporation and a holding company. It is
incorporated in Delaware, maintains its principal place of business in New York, and has no
employees located in Virginia.

3. MasterCard International is a wholly-owned subsidiary of MasterCard, Inc.

MasterCard International is incorporated in Delaware and maintains its principal place of
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business in New York. It employs approximately five people in Virginia, none of whom had any
involvement in the matters alleged in the Complaint.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: Purchase, New York (
May S, 2015 eemsa f Metin

james P. Masterson

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Dated: May 8, 2015

Respectfully submitted,

/s/ Stephen EF. Noona
Stephen E. Noona
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Counsel for MasterCard Incorporated
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CERTIFICATE OF SERVICE

I hereby certify that on May 8, 2015, I will electronically file the foregoing with the Clerk
of Court using the CM/ECF system, which will send a notification of such filing (NEF) to the
following:

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